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IN THE UNITED sTATEs DISTRICT coURT " D~c-
FoR THE WESTERN DIsTRIcT oF TENNESSEE OSAU{; 25 P
wEsTERN DIvIsIoN H ‘*’ 19

 

MEMPHIS CITY SCHOOLS, et al.,

Defendants.

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UN€ US F`»§Gj?>i'“r
JANE DOE # l, by and through ) %@QF§§M§;HB
her next friend (mother, )
Jane Doe # 2), and JANE DOE )
# 21 )
)
Plaintiffs, )
)
v. ) No. 04-2283 Ma V
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ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT GLYNN
FAULKNER'S MOTION FOR SUMMARY JUDGMENT

 

Plaintiffs allege that Plaintiff Jane Doe # 1, a minor student
at Kirby High School (“KHS”), was sexually abused by one of her
instructors. Plaintiffs' causes of action against Faulkner arise

under 42 U.S.C. § 1983 and state law.

Before the court is Defendant Glynn Faulkner's motion, filed
on April l, 2005, seeking summary judgment on Plaintiffs' claims

under § 1983 and state law. Plaintiffs responded on June 17, 2005.
I. Background

The following facts are taken from the complaint. From
November, 2002, through February, 2003, Defendant Danny Peterson
was a “volunteer” band instructor at KHS, compensated privately by

the KHS band booster club. Plaintiff Jane Doe #1 (“Doe”), then a

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minor, was a member of the KHS band. (Compl. IT 9-10.) Peterson
took Doe off campus to area motels during school hours, where they
engaged in sexual activities. Peterson never signed Doe out to
leaye campus. (Id. 1 ll.) Defendant Glynn Faulkner, the KHS band
director, knew that Peterson was taking Doe off campus during

school hours. (Id. I 12.)

On May 27, 2003, Peterson harassed Doe in the KHS band room
after school. (Id. T 15.) On or about May 30, 2003, Plaintiff Jane
Doe #2 (“Doe's mother”) learned of Peterson’s conduct and contacted
Defendant Thomas Killough, principal Of KHS. Killough pulled Doe’s
attendance records, which showed numerous unexcused absences about
which KHS had never notified Doe’s mother. (Id. q 14.) Doe’s
mother then contacted Defendant Bob Archer, associate
superintendent for the school system, about Peterson's conduct.
Archer said that he would not act unless law enforcement acted.

(Id. 1120.)

After Doe’s mother reported Peterson’s activities, Peterson
began telephoning and harassing Doe. (Id. I 24.) In early June,
2003, Doe's mother petitioned the General Sessions Criminal Court
of Shelby County for an order of protection against Peterson. On
June 30, the date of the scheduled hearing on the petition, an
unknown person or persons shot at Doe's mother’s automobile, which
was parked in the driveway of her home. (Id. LI 26-27.) The court

granted the protective order against Peterson. (Id. I 28.) After

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several unsuccessful attempts by Doe's nwther, Doe obtained a
“safety” transfer to another high school in the school system for
her senior year. (Id. j 37.) The Plaintiffs allege that the school
system is deliberately indifferent to the “wholesale sexual
misconduct” of faculty and staff that occurs throughout the school

system. (Id. j 36.)
II. Jurisdiction

Plaintiffs bring claims under § 1983 and Title IX. Thus, the
court exercises federal-question jurisdiction under 28 U.S.C. §
1331. The court has jurisdiction under 28 U.S.C. § 1367 over

pendant state law claims.
III. Legal Standard for Summary Judgment

The party moving for summary judgment “bears the burden of
clearly and convincingly establishing the nonexistence of any
genuine issue of material fact, and the evidence as well as all
inferences drawn therefrom must be read in a light most favorable
to the party opposing the motion.” Kochins v. Linden~Alimak, Inc.,
799 F.2d 1123, 1133 (eth cir. 1986). The moving party can meet
this burden by pointing out to the court that the respondents,
having had sufficient opportunity for discovery, have no evidence

to support an essential element of their case. See Street v. J.C.

 

Bradford & CO., 886 F.Zd 1472, 1479 (6th Cir. 1989).

When confronted with a properly supported motion for summary

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judgment, the nonmoving party must set forth specific facts showing
that there is a genuine issue for trial. A genuine issue for trial
exists if the evidence is such that a reasonable jury could return
a verdict for the nonmoving party. See Anderson v. Libertv Lobbv,
lng;, 477 U.S. 242, 248 (1986). The party opposing the motion must
“do more than simply show that there is some metaphysical doubt as
to the material facts.” Matsushita Elec. Indus. Co., Ltd. v.
Zenith Radio Corp., 475 U.S. 574, 586 (1986). The nonmoving party
may not oppose a properly supported summary judgment motion by mere

reliance on the pleadings. See Celotex Corp. v. Catrett, 477 U.S.

 

317, 324 (1986). Instead, the nonmoving party must present
“concrete evidence supporting its claims.” Cloverdale Eguip. Co.
v. Simon Aerials, Inc., 869 F.2d 934, 937 (6th Cir. 1989). The

 

district court does not have the duty to search the record for such
evidence. See InterRoval Corp. v. Sponseller, 889 F.2d 108, 110“11
(6th Cir. 1989). Nonmovants have the duty to point out specific
evidence in the record that would be sufficient to justify a jury

decision in their favor. See id.

IV. Analysis
A. § 1983

Because Plaintiffs do not allege that Faulkner engaged in
sexual contact with Doe, his conduct must be evaluated under the §
1983 standards for “supervisory liability.” Doe v. Warren
Consolidated Schools, 93 Fed. Appx. 812, 818 (6th Cir.

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2004)(unpublished)(citing Doe v. Citv of Roseville, 296 F.3d 431,
439 (6th Cir. 2002)). A defendant is not liable under § 1983 if he
was merely “sloppy, reckless or negligent in the performance of
[his] duties.” Roseville, 296 F.3d at 439. Rather, the Plaintiffs
must show that Faulkner acted with “deliberate indifference” to
Doe's constitutional rights. Doe v. Claiborne Countv. Tennessee,
103 F.3d 495, 513 (6th Cir. 1996)(quoting Barber v. Citv of Salem,
953 F.2d 232, 240 (6th Cir. 1992). The courts have interpreted
this standard to require that plaintiffs show “the defendants'
conduct amounted to a tacit authorization of the abuse” or that the
defendant “encouraged the specific incident of misconduct or in
some other way directly participated in it.” Claiborne County, 103
F.3d at 513 (citing Bellamv v. Bradlev, 729 F.2d 416, 421 (6th Cir.

1984)).

Faulkner argues that he was not aware of Peterson’s conduct
and that he cannot, therefore, be liable under any of the
Plaintiffs' causes of action. Plaintiffs' evidence of Faulkner’s
knowledge consists of Doe's deposition testimony to the effect that
Faulkner often saw her leave campus to meet Peterson and advised
Peterson to stop taking Doe off campus, and the deposition
testimony of Doe's mother that Doe had been informed of a
conversation in which Faulkner told Peterson that “I just saw your

girlfriend.”

Doe's deposition testimony is as follows:

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I believe Mr. Faulkner knew because the way we would
leave to get off campus because there were cameras
everywhere. So, you know, I didn't just go out of any
exit. I used to go through the band room. There was a
door on the side of the band room that would lead you to
the outside. So I used to walk through the band room
during my lunch period just so I could get into the car
to leave off campus. So Mr. Faulkner would see ne
leaving to go off campus.

Actually, I remember - I remember at times where Mr.
Peterson would tell me that Mr. Faulkner was advising him
against taking me off campus because he knew the
potential that if it ever got out, some dust would kind
of fly. People would get in trouble because of it. So
that kind of implies that he knew.

Q. Let me make sure I am right. Mr. Peterson told you
that Mr. Faulkner advised him against taking you off
campus?

A. YeS

Q. And it's your belief that he would recognize you going
cut that [band room] door during fifth period and what
you said was his planning period?

Yes.
You believe he would recognize you and -

I mean, he probably didn't see me every single time.
am not saying that he saw me every single time.

But you believe that he saw you at least once?

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Yeah. 1 mean, I was trying to sneak out, you know, so
I wouldn’t, while I was walking, turn around looking like
this .... I wouldn't turn. around to see if he was
looking or anything.

Q. You were trying to avoid his recognition?
A. Yes.
(Doe # 1 Depo. 19:2-24, 31:11-32:12.)

Doe's testimony that Faulkner must have seen her sneaking out
through the band room does not, without more, impute to Faulkner
knowledge of the relationship between Doe and Peterson. Doe did

not state that she was with Peterson when she attempted to leave

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KHS in view of Faulkner's office or otherwise explain how Faulkner

would reasonably have expected that she would meet Peterson.

Doe's testimony that Peterson had been advised by Faulkner to
stop taking her off campus does, however, suggest that Faulkner
knew that some kind of relationship was ongoing between Doe and
Peterson. Faulkner argues that this testimony consists of
inadmissible hearsay and should not be considered by the court.
Doe's testimony contains two out-of-court statements: 1) Faulkner's
statement to Peterson advising him not to take Doe off campus and
2) Peterson's repetition of that statement to Doe. Both Faulkner
and Peterson are defendants in this action. Thus, both Faulkner's
statement to Peterson and Peterson's statement to Doe can be deemed
party admissions under Fed. R. Evid. 801(d)(2)(A). gee U.S. v.
Gibson, 409 F.3d 325, 337 (6th Cir. 2005); Estate of Shafer v.
Commissioner, 749 F.2d 1216, 1220 (6th Cir. 1984). Further, it
appears that Faulkner's advice to Peterson is not being offered to
prove its truth, but to show Faulkner’s underlying knowledge of the
relationship between Peterson and Doe. See U.S. v. Cuttino, 106
Fed. Appx. 156, 159 (4th Cir. 2004)(“An order or instruction,1
however, is neither true or false and thus cannot be offered for

its truth.”)(quoting U.S. v. Shepherd, 739 F.2d 510, 514 (10th Cir.

 

l Although the advice Faulkner allegedly gave Peterson is not the same

as “an order or instruction,” for similar reasons, it is not a declarative
statement that can be proven true or false. Seel e.g., U.S. v. Reliford, 58
F.3d 247, 249 (6th cir. 1995).

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1984). Thus, Doe’s deposition testimony would be admissible, and

the court will consider it.

Doe’s mother testified that Doe had told her of a rumor at KHS

that Faulkner had told Peterson, “I just saw your girlfriend.” (Doe
# 2 Depo. 113:18-23.) This statement, as Faulkner suggests,
contains multiple levels of hearsay. When asked about this

statement herself, Doe responded that it was “one of those things
that ... was so insignificant, that I really don't remember.” (Doe
# 1 Depo. 54:16-18.) Plaintiffs’ testimony about Faulkner’s
purported statement has so little probative value that the court
will not consider it in deciding Faulkner‘s motion for summary

judgment.

Doe's deposition testimony about Faulkner’s advice to
Peterson, considered in the light most favorable to the Plaintiffs,
indicates that Faulkner knew of Peterson’s relationship with Doe
while it was ongoing and while he was in an immediate position of
authority to stop it. Thus, there is a genuine issue of material
fact about whether Faulkner acted with deliberate indifference to
Doe’s constitutional rights. See Doe v. Warren Consolidated School
§istgd 93 Fed. Appx. at 822 (denying supervisor’s motion for
summary' judgment when. he had acknowledged. a teacher’s abusive
behavior toward female students). Thus, Faulkner's motion for

summary judgment on Plaintiffs’ § 1983 claims must be DENIED.

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B. State Law Claims

Plaintiffs also bring state law claims against Faulkner.

Tennessee law provides that:

Immunity from suit of all governmental entities is
removed for injury proximately caused by a negligent act
or omission of any employee within the scope of his
employment

Tenn. Code Ann. § 29-20-205 (hereinafter, “the TGTLA”). The
Tennessee Supreme Court has interpreted this provision to
“expressly waive immunity for injuries proximately caused by a
negligent act or omission of a governmental employee.” Limbaugh v.

Coffee Medical Center, 59 S.W.3d 73, 78 (Tenn. 2001). Because

 

Plaintiffs do not allege that Faulkner sexually abused Doe, most of
Plaintiffs’ claims against him are based on his alleged “negligent
act or omission.” The TGTLA further provides that “[n]o claim may
be brought against an employee or judgment entered against an
employee for damages for which the immunity of the governmental
entity is removed by this chapter ....” Tenn. Code Ann. § 29-20-
310(b). Because the TGTLA has removed the immunity of Faulkner's
employer, the school system, from damages, the Plaintiffs may not

bring state law claims against Faulkner.

The TGTLA does not remove immunity when the claim arises from
a school employee's “infliction of mental anguish.” Tenn. Code.
Ann. § 29-20-205(2). To the extent that this exception corresponds

with Plaintiffs' claim against Faulkner for intentional infliction

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of emotional distress, Plaintiffs’ claim against him is not barred
by the TGTLA. For a plaintiff to succeed on a cause of action for
intentional infliction of emotional distress, 1) the conduct
complained of must be intentional or reckless, 2) the conduct must
be so outrageous that it is not tolerated by a civilized society,
and 3) the conduct must result in serious mental injury. Bain v.
Hell§, 936 S.W.2d 618, 622 (Tenn. 1997). “It has not been enough
that the defendant has acted with an intent that is tortious or
even criminal, or that he has intended to inflict emotional
distress, or even that his conduct has been characterized by
‘malice,' or' a degree of aggravation. which. would. entitle the
plaintiff to punitive damages for another tort.” ;Qg_ at 623.
Plaintiffs do not, in response either to Faulkner’s motion or to
his statement of facts, point to specific evidence demonstrating
that either of them has suffered a serious mental injury because of
Faulkner’s behavior. Because serious mental injury is an essential
element of a claim for intentional infliction of emotional
distress, Plaintiffs cannot survive summary judgment on their

claim.

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V. Conclusion

For the foregoing reasons, Defendant Glynn Faulkner's motion
for summary judgment is DENIED on Plaintiffs' § 1983 claim and

GRANTED on Plaintiffs' state law claims.

So ordered this iomday cf August 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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